                   Case 4:04-cr-00291-BSM Document 847 Filed 03/03/10 Page 1 of 4
~A0245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1
=====================================:::::::=:=U.S. DISTRICT COU:;;:R~T;====                                          E1LED
                                               EASTERN DISTRICT ARKANSAS
                                     UNITED STATES DISTRICT COURT
                                                                                                                   MAR - 32010
                                                      Eastern District of Arkansas                     JAME
          UNITED STATES OF AMERICA                                       Judgment in a Criminal ~,_~.u..CD.!.LJI..1..I-bt&-~H7"::I:::;;:;,
                             v.                                          (For Revocation of Probation or Supervised Release)


           BRANDON LAMAR WHITE                                           Case No.         4:04CR00291-15 JLH
                                                                         USMNo.           23536-009
                                                                                                    Chris Tarver
                                                                                                 Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)         Special; General; 3             of the term of supervision.
o was found in violation of condition(s)              _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Special                      Failure to participate in substance abuse treatment program (drug testing)       February 25, 2010
                              as directed by the U.S. Probation Officer
General                      Unlawful use of a controlled substance                                           February 17,2010
3                            Failure to report as directed by the probation officer                           January 4, 2010



       The defendant is sentenced as provided inpages 2 through               4      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3292

Defendant's Year of Birth:        1981

City and State of Defendant's Residence:
                  Little Rock, Arkansas
                                                                                  J. LEON HOI/MES, U.S. DISTRICT JUDGE
                                                                                                Name and Title of Judge

                                                                                                   March 3, 2010
                                                                                                       Date
                     Case 4:04-cr-00291-BSM Document 847 Filed 03/03/10 Page 2 of 4
AD 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                             Judgment - Page _.:::.2_ of        4
DEFENDANT:                     BRANDON LAMAR WHITE
CASE NUMBER:                   4:04CR00291-15 JLH


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :
                                                                   11 MONTHS



     X The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends defendant participate in residential substance abuse treatment during
         incarceration.


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
       o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
       o as notified by the United States Marshal.
     X The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         X     before 2 p.m. on        Monday, April 5, 2010
          o     as notified by the United States Marshal.
          o     as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                  to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL


                                                                            By                                                      _
                                                                                       DEPUTY UNITED STATES MARSHAL
                   Case 4:04-cr-00291-BSM Document 847 Filed 03/03/10 Page 3 of 4
AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                                               Judgment-Page --3..- 0                 4
DEFENDANT:               BRANDON LAMAR WHITE
CASE NUMBER:             4:04CR00291-15 JLH
                                                      SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                                           ONE (1) YEAR


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
o     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
o     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
          five days of each month;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permIssion to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
         without the permission of thy court; and
13)      as directed by the probation officer, the defendant shall notify third l'arties of risks that may be occasioned by the
         defendant's criminal record or personal history or characteristics ana shall permit the probation officer to make such
         notifications and to confirm the defendant's compliance with such notificatIOn requirement.
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   (Rev. 1207) Judgment in a Criminal Case for Revocations
   Sheet 3A - Supervised Release
                                                                            Judgment-Page ----4...- 0   4
DEFENDANT:           BRANDON LAMAR WHITE
CASE NUMBER:         4:04CR00291-14 JLH

                                 ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant must participate, under the guidance and supervision of the probation officer, in a
su6stance abuse treatment program which may include testing, outpatient counseling, and residential
treatment. The defendant must abstain from the use of alcohol throughout the course of treatment.
